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                      KLIEBENSTEIN

                          EXHIBITS 1-3
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                                 #:4969




                    KLIEBENSTEIN

                          EXHIBIT 1


           TO BE FILED FOLLOWING
           ENTRY OF ORDER ON
           APPLICATION FOR LEAVE
           TO FILE UNDER SEAL
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                KLIEBENSTEIN

                      EXHIBIT 2

          TO BE FILED FOLLOWING
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          APPLICATION FOR LEAVE
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                      KLIEBENSTEIN

                           EXHIBIT 3
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                                 #:4972




                              In The Matter Of:
                            Pinkette Clothing, Inc. v.
                           Cosmetic Warriors Limited




                            Dr. Jonathan D. Hibbard
                                October 21, 2016




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                                 #:4973


                                                                                1


  1                    UNITED STATES DISTRICT COURT

  2                   CENTRAL DISTRICT OF CALIFORNIA

  3

  4                                                   Case No.:

  5        PINKETTE CLOTHING, INC.,                   2:15-cv-04950-SJO-AJW

  6                             Plaintiff,

  7                        v.

  8      COSMETIC WARRIORS LIMITED,

  9                             Defendant.

 10

 11          DEPOSITION OF DR. JONATHAN D. HIBBARD, a witness

 12    called by and on behalf of the Defendant, taken

 13    pursuant to Rules 26(b)(4) and 30(b)(1) of the

 14    Federal Rules of Civil Procedure, before Maria P.

 15    Manning, CSR and Notary Public in and for the

 16    Commonwealth of Massachusetts, at O'BRIEN & LEVINE

 17    COURT REPORTING SERVICES, 195 State Street, 5th

 18    Floor, Boston, Massachusetts, 02109 on

 19    October 21, 2016, commencing at 10:03 a.m.

 20

 21

 22

 23

 24

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                                                                                2


  1    A P P E A R A N C E S:

  2

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 10

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 18          for the Defendant.

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                                                                                  3


  1                                   I N D E X

  2    WITNESS:

  3    DR. JONATHAN D. HIBBARD

  4    Examination by:                                                  PAGE

  5    Ms. Kliebenstein                                                   4

  6

  7                              E X H I B I T S

  8    No.                                                              PAGE

  9    Exhibit 262       Rebuttal report of Jonathan D.                       4

 10                      Hibbard, Ph.D.

 11    Exhibit 263       Dr. Joachimsthaler's report                      80

 12

 13

 14              Exhibits were retained by the Stenographer

 15    and returned to MS. KLIENBENSTEIN.

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                           Dr. Jonathan D. Hibbard - October 21, 2016           4


  1                        P R O C E E D I N G S

  2                      (WHEREUPON, Exhibit 262, received and

  3                      pre-marked for identification.)

  4

  5                           JONATHAN D. HIBBARD

  6

  7          a witness, having been satisfactorily identified

  8    by the production of a driver's license, was first

  9    duly sworn, was examined and testified as follows:

 10

 11                                 EXAMINATION

 12    BY MS. KLIENBENSTEIN:

 13         Q.   Good morning, Dr. Hibbard.

 14         A.   Good morning.

 15         Q.   Welcome to your deposition.

 16         A.   Thank you.

 17         Q.   Have you ever been deposed before?

 18         A.   Yes.

 19         Q.   How many times?

 20         A.   Several.     Two or three.           I can't remember.

 21    It's been a while.

 22         Q.   So you know the drill.              I'll ask you

 23    questions, you answer them.              If you need a break at

 24    any time, just let me know.              If there's a question

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                            Dr. Jonathan D. Hibbard - October 21, 2016           5


   1   that you don't understand, feel free to ask me to

   2   rephrase it.

   3             Is this there anything today that would

   4   prevent you from providing your full testimony?

   5        A.   No.

   6        Q.   So you mentioned that you've been deposed two

   7   or three times before.

   8             Can you recall what matters those depositions

   9   took place in?

  10        A.   At the moment, no.

  11        Q.   How long ago were they?

  12        A.   Somewhere around nine, ten, twelve years ago.

  13        Q.   Were they civil lawsuits?

  14        A.   They were.

  15        Q.   Were you acting as an expert witness?

  16        A.   I was not.

  17        Q.   In what capacity were you acting?

  18        A.   I believe I was designated as a consulting

  19   expert.

  20        Q.   So you were deposed or you weren't deposed?

  21        A.   I was deposed.

  22        Q.   You were deposed as a consulting expert.

  23             And is that in both of those depositions you

  24   were a consulting expert?

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                            Dr. Jonathan D. Hibbard - October 21, 2016           41


   1        Q.   And the second is that the strength and the

   2   status of the LUSH brand in the U.S. market was not

   3   strong in 2003 to 2004.

   4             Is that the second prong of your opinions in

   5   this case?

   6        A.   Yeah.    The second prong is that it's nowhere

   7   near as strong as it potentially is in '15, '16.

   8        Q.   And it's limited to that time period, 2003 to

   9   2004, correct?

  10        A.   The analysis I did was I tried to use 2003,

  11   2004 data.

  12        Q.   To make a conclusion about the strength and

  13   status of the LUSH brand in 2003 to 2004, correct?

  14        A.   Yes.    Correct.

  15        Q.   And so this report does not express any

  16   opinions on the status or strength of the LUSH brand

  17   after 2004?

  18                     MR. CRANE:         Objection.          Vague.

  19                     THE WITNESS:          Can you specify for

  20             me a little?

  21   BY MS. KLIENBENSTEIN:

  22        Q.   Sure.    I'm just trying to understand the

  23   temporal metes and bounds of your opinions in this

  24   case.     So in the second prong, your opinions talk

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                            Dr. Jonathan D. Hibbard - October 21, 2016           42


   1   about the strength and status of the LUSH brand for

   2   2003 to 2004.

   3             And so my question is your opinions about the

   4   strength and status of the LUSH brand are limited to

   5   that time period, 2003 to 2004?

   6        A.   I would say yes.

   7        Q.   So to ask the first question again, you don't

   8   have any opinions in this report about the status and

   9   strength of the LUSH brand after 2004?

  10                     MR. CRANE:         Objection.          Asked and

  11             answered.

  12                     THE WITNESS:          I think, I'm not

  13             sure.    I may have included a little bit

  14             of 2005 in there.           But certainly I did

  15             not use any data, you know, that was

  16             past 2003, 2004 or maybe a little in

  17             2005.

  18   BY MS. KLIENBENSTEIN:

  19        Q.   So moving on to paragraph 13, under

  20   Section A.

  21             To quote your report, it says, "I believe the

  22   relevant time period in which to assess CWL's LUSH

  23   Cosmetics/Toiletries brand status is 2003 to 2004 and

  24   not 2013 to 2016?"

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                            Dr. Jonathan D. Hibbard - October 21, 2016                43


   1             That's based on law provided to you from

   2   counsel, correct?

   3        A.   Correct.

   4        Q.   And let's assume that the law on that time

   5   period, that only 2003 to 2004 is wrong.                          Let's just

   6   assume that it's wrong.

   7             Your criticisms based on that point would

   8   then not be pertinent to this matter, correct?

   9        A.   (Pause.)

  10        Q.   And I'm not talking about the second prong of

  11   your report, your own independent analysis of the

  12   status in 2003, setting that aside.

  13             This first area deals with your criticisms of

  14   Dr. Joachimsthaler for not looking at 2003 to 2004,

  15   correct?

  16        A.   My criticism for only looking at 2014, 2015,

  17   '16 data.     So that's my criticism of him.

  18        Q.   Okay.    Because the relevant time period is

  19   2003, 2004.

  20        A.   Correct.

  21        Q.   Based on the law that you've been provided.

  22        A.   Correct.

  23        Q.   And so my question is let's assume that that

  24   law is incorrect, that looking at 2013 to 2016 is

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                            Dr. Jonathan D. Hibbard - October 21, 2016           44


   1   legally relevant to this case.

   2             Do you understand that assumption?

   3        A.   Okay.

   4        Q.   Would your criticisms in this first part be

   5   the same?

   6                     MR. CRANE:         Objection.          Incomplete

   7             hypothetical.         Vague and ambiguous and

   8             confusing.

   9                     THE WITNESS:          Answer or not?

  10                     MR. CRANE:         You can answer to the

  11             extent you understand the question.

  12                     THE WITNESS:          Okay.       So as I

  13             understand your question, if the law is

  14             not correct, then the analysis that

  15             I've done tied to 2003, 2004 may not be

  16             as useful.

  17   BY MS. KLIENBENSTEIN:

  18        Q.   And looking at this flaw number one issue,

  19   you say it may not be as useful.                  In what ways could

  20   your analysis from paragraphs 13 through 53 be

  21   useful, assuming that that law is wrong?

  22                     MR. CRANE:         Objection.          Incomplete

  23             hypothetical.

  24                     Counsel, can you specify for the

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                            Dr. Jonathan D. Hibbard - October 21, 2016            56


   1   good thing.

   2         Q.   So let's move to the brand identity system.

   3              This framework -- have you ever heard of this

   4   framework before, before working on this case?

   5         A.   Yes.

   6         Q.   And what do you know about that framework?

   7         A.   I mean, I know about the framework.                    It's a

   8   framework in branding.

   9         Q.   And what would that framework be used for?

  10         A.   I think you could use it for a number of

  11   things.     I guess you could use it to assess a brand.

  12   Sort of like a brand audit.

  13         Q.   When you say a "brand audit," what does that

  14   mean?

  15         A.   Basically trying to understand where the

  16   brand is at now.

  17         Q.   What its target consumers would think about

  18   it?

  19         A.   Yeah.   Exactly.

  20         Q.   Have you ever used that framework before?

  21         A.   I have not.       I've used elements of it, but I

  22   haven't used Erich's particular framework.

  23         Q.   And what elements have you used of this

  24   framework before?

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                            Dr. Jonathan D. Hibbard - October 21, 2016           57


   1        A.   Can I look through and tell you?

   2        Q.   Oh, sure.

   3        A.   Okay.

   4        Q.   Yes.    Feel free to look.

   5        A.   So the brand as person I've used, because

   6   typically that's more referred to as brand

   7   personality.      So there's a large literature on brand

   8   personality.

   9        Q.   Um-hmm.

  10        A.   And then brand as symbol.                 Again, it's sort

  11   of a well-known literature on brand as symbol, so

  12   that would be something that probably many

  13   consultants, academics would use as a way to examine

  14   brands.

  15        Q.   When preparing your report, did you read any

  16   research on how to apply the brand identity system

  17   framework?

  18        A.   I read Erich's book.             Well, I read David

  19   Aaker's book with Erich.

  20        Q.   In your analysis under the brand identity

  21   system, you're operating assumption was that the

  22   proper time frame within which to analyze the LUSH

  23   brand is 2003, 2004, correct?

  24        A.   Correct.

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                            Dr. Jonathan D. Hibbard - October 21, 2016            58


   1        Q.   And these paragraphs critique Dr.

   2   Joachimsthaler for not properly reviewing data and

   3   opining on 2003 to 2004 specifically, correct?

   4        A.   Correct.

   5        Q.   Looking at paragraphs 19 through 20, is the

   6   basis for your opinions in paragraphs 19 through 20,

   7   is that based on your expertise in marketing or

   8   simply the law provided by counsel?

   9        A.   No.    I would say 19 and 20, again, what I'm

  10   doing is all I'm doing is cataloguing all the data in

  11   the Erich's report by time.

  12        Q.   Um-hmm.

  13        A.   So that's what I did.

  14        Q.   And you did that based on the assumption that

  15   2003 to 2004 is the relevant time period to look at

  16   the LUSH brand for this framework?

  17        A.   Yes.

  18        Q.   But this cataloguing, that could be done by

  19   anybody, it doesn't need to be a marketing expert,

  20   correct?

  21        A.   No.    I would say you would probably need to

  22   have a level of marketing expertise to catalog the

  23   right information under the right headings.                       Right.

  24   So brand as organization, brand as person.

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                            Dr. Jonathan D. Hibbard - October 21, 2016           59


   1        Q.   Understood.        Understood.

   2             But to create this table and to say that the

   3   data wasn't from 2003 to 2004, that doesn't take a

   4   marketing expert to do that specific task, correct?

   5   I could do that myself, right?

   6        A.   I'm going to say you need some level of

   7   expertise in marketing to do it.

   8        Q.   And why is that?

   9        A.   Again, because I think you need to evaluate

  10   what he wrote in addition to the data he relied upon.

  11        Q.   And where in paragraphs 19 and 20 are you

  12   evaluating what Dr. Joachimsthaler wrote?

  13        A.   So I'm taking his quotes and trying to

  14   understand if he's talking about brand as

  15   organization, what elements is he using in his report

  16   that are tied to brand as organization, and then what

  17   data is he using to support brand as organization.

  18        Q.   Let's move to page 7, about the brand value

  19   proposition.

  20             Are you familiar with this framework?

  21        A.   Yes.

  22        Q.   In what way?

  23        A.   So there's, again, a rich literature on the

  24   elements of this framework in branding.

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                            Dr. Jonathan D. Hibbard - October 21, 2016           60


   1        Q.   And had you -- prior to working on this case,

   2   had you ever applied that framework before in your

   3   report?

   4        A.   So I've applied the elements of this

   5   framework.

   6        Q.   Each one of the elements?

   7        A.   Yes.

   8        Q.   And what's the difference between the brand

   9   value propositions framework and the brand identity

  10   system framework in your opinion?                   When would you use

  11   one versus the other?

  12        A.   Well, I think they give you different -- they

  13   give you different things.              So I think, you know, you

  14   could use both, because there may not be a lot of

  15   overlap, at least as listed by Erich and David Aaker

  16   from their frameworks.

  17        Q.   So you said they give you different things.

  18             What does the brand value proposition, what

  19   different conclusions does that reach, separate aside

  20   from these reports in this case, just generally, what

  21   different conclusions does the brand value

  22   proposition framework reach as opposed to the brand

  23   identity system framework?

  24        A.   Again, I don't think the conclusions need to

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                            Dr. Jonathan D. Hibbard - October 21, 2016           61


   1   be different, they just have different elements.                  So

   2   as we can see, functional, emotional,

   3   self-expressive, those are not picked up explicitly

   4   in the BIS.

   5        Q.   So they're just two different frameworks to

   6   kind of get to the same place?

   7        A.   Or at least could be applied in different

   8   ways.     They may or may not get you to the same place.

   9        Q.   So the brand value proposition framework

  10   could also be used as a way to audit a brand?

  11        A.   Yeah.    I would say as a way to evaluate a

  12   brand.

  13        Q.   Evaluate a brand.

  14             And your opinions in this section of your

  15   report are focused on the criticism that Dr.

  16   Joachimsthaler's analysis of the brand value

  17   proposition focuses on the wrong time frame; is that

  18   correct?

  19        A.   That's correct.

  20        Q.   Anything else in this section of your report?

  21                     MR. CRANE:         Objection.

  22   BY MS. KLIENBENSTEIN:

  23        Q.   And I'll be specific for you.

  24        A.   Thank you.

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                            Dr. Jonathan D. Hibbard - October 21, 2016           69


   1   relates to this, correct.

   2        Q.   Yeah.    I'm just trying to make sure we're on

   3   the same page with the words that we're using.

   4             So what the brand means, how it's viewed by

   5   consumers, that's not the same thing as the strength

   6   of the brand.      I understand they may be related.              But

   7   they're not the same thing, right?

   8        A.   I don't know if it's not the same thing.                I

   9   mean, this was one framework in a Erich used to

  10   assess strength of the brand.

  11                     THE WITNESS:          If it's okay, I'm

  12             going to use the restroom only because

  13             I didn't use it on the last break.

  14                     MS. KLIENBENSTEIN:              Sure.

  15                     THE WITNESS:          Thanks.

  16                     (Recess taken.)

  17   BY MS. KLIENBENSTEIN:

  18        Q.   Let's move to the third framework starting at

  19   paragraph 43 on page 9.

  20             Are you familiar with the framework that Dr.

  21   Joachimsthaler used for analyzing whether the LUSH

  22   brand is a lifestyle brand?

  23        A.   So I'm familiar with lifestyle branding.

  24        Q.   And the question is are you familiar with the

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                            Dr. Jonathan D. Hibbard - October 21, 2016           70


   1   framework that he used to analyze whether LUSH is a

   2   lifestyle brand?

   3        A.   So I'm not really sure he used a framework.

   4   I called it a framework because he called it a

   5   framework.      But there are elements of a lifestyle

   6   brand.    But, anyway.        So I'm familiar with lifestyle

   7   brand.

   8        Q.   Do you disagree with the elements that Dr.

   9   Joachimsthaler used to analyze whether LUSH is a

  10   lifestyle brand?        Setting aside the conclusions.

  11        A.   No.    I think some of the elements he has in

  12   there are probably elements you would want to

  13   consider.

  14        Q.   And looking at paragraphs 43 through 47, your

  15   opinions in those paragraphs are that Dr.

  16   Joachimsthaler used the wrong time frame again?

  17        A.   That's correct.

  18        Q.   That he should have analyzed whether LUSH was

  19   a lifestyle brand in 2003, 2004, correct?

  20        A.   Correct.

  21        Q.   In paragraph 43, you used the phrase

  22   "demanding criteria."

  23             Do you see that?

  24        A.   I do.

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                            Dr. Jonathan D. Hibbard - October 21, 2016             75


   1                     THE WITNESS:          Well, probably we

   2             could come up with a list.                 Right.       So

   3             something like Pampers diapers,

   4             probably a strong brand in that target

   5             segment.      But as far as I know they

   6             haven't extended to become a lifestyle

   7             brand.

   8                     Again, similar, Nutella.                  Probably

   9             a relatively strong brand in some

  10             certain markets, but as far as I know

  11             they haven't extended to the Nutella

  12             lifestyle.       We probably could do it for

  13             a bunch of brands.

  14   BY MS. KLIENBENSTEIN:

  15        Q.   Understood.        So moving on to page 11, looking

  16   at subsection 4.

  17             When you're looking at whether a brand can

  18   extend into different categories of products or

  19   services, what framework do you use to make that

  20   analysis?

  21        A.   Again, I don't think that there's, you know,

  22   a number of frameworks out there.                   So, again, Erich

  23   has -- and I labeled it as a framework.                       But there's

  24   elements that are here that are probably elements

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                            Dr. Jonathan D. Hibbard - October 21, 2016           76


   1   that I would also use to look at is a brand

   2   extendable.

   3        Q.   So you don't have any quarrel with the

   4   framework that Dr. Joachimsthaler used, correct?

   5                     MR. CRANE:         Objection.          Misstates

   6             his testimony.

   7   BY MS. KLIENBENSTEIN:

   8        Q.   Just the conclusion.

   9        A.   So I don't have a quarrel with the elements

  10   and things that he used to understand, you know,

  11   could a brand be able to extend.

  12        Q.   And looking at paragraphs 48 through 53, your

  13   critique in these paragraphs is that Dr.

  14   Joachimsthaler analyzed the brand extension concept

  15   in the wrong time period, correct?

  16        A.   Correct.

  17        Q.   No other opinions in this section, correct?

  18        A.   No.

  19        Q.   When you're analyzing the extendibility of

  20   the brand, what data do you look at?

  21        A.   So as I said, I would probably use similar

  22   elements to Erich, and then try and collect secondary

  23   and primary data to see if there's, you know, the

  24   ability to extend is there.

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   1             different analysis for a different

   2             brand may come up with a different

   3             conclusion.

   4                     MS. KLIENBENSTEIN:              I don't think

   5             I have any other questions.                  Let me

   6             double check.         All right.          That's all

   7             that I have.

   8                     THE WITNESS:          Thank you.

   9                     (discussion off the record.)

  10                     MS. KLIENBENSTEIN:              So we're going

  11             to allow the witness to read and sign,

  12             and he'll do so within a two-week turn

  13             around time after when he gets the

  14             final transcript.

  15                     MR. CRANE:         All right.

  16                     (WHEREUPON, the deposition was concluded

  17                     at 1:40.)

  18

  19

  20

  21

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   1                         C E R T I F I C A T E

   2

   3             COMMONWEALTH OF MASSACHUSETTS)

   4             ESSEX, SS.                                   )

   5

   6          I, Maria P. Manning, CSR and Notary Public in

   7   and for the Commonwealth of Massachusetts, do hereby

   8   certify that there came before me on the 21st day of

   9   October, 2016, at 10:03 a.m., the person hereinbefore

  10   named was duly sworn by me and that such deposition

  11   is a true record of the testimony given by the

  12   witness.

  13          I further certify that I am neither related to

  14   nor employed by any of the parties or counsel to this

  15   action, nor am I financially interested in the

  16   outcome of this action.

  17          In witness whereof, I have hereunto set my hand

  18   and seal this 4th day of November, 2016.

  19

  20

  21                                   _______________________

  22                                   Notary Public

  23                                   My Commission Expires

  24                                   January 6, 2017

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   1           ERRATA SHEET DISTRIBUTION INFORMATION

   2           DEPONENT'S ERRATA & SIGNATURE INSTRUCTIONS

   3

   4               ERRATA SHEET DISTRIBUTION INFORMATION

   5

   6          The original of the Errata Sheet has been

   7   delivered to David A. Crane, Esq.

   8          When the Errata Sheet has been completed by the

   9   deponent and signed, a copy thereof should be

  10   delivered to each party of record and the ORIGINAL

  11   forwarded to Heather J. Kliebenstein, Esq., to whom

  12   the original deposition transcript was delivered.

  13

  14                      INSTRUCTIONS TO DEPONENT

  15          After reading this volume of your deposition,

  16   please indicate any corrections or changes to your

  17   testimony and the reasons therefor on the Errata

  18   Sheet supplied to you and sign it.                   DO NOT make marks

  19   or notations on the transcript volume itself.                     Add

  20   additional sheets if necessary.                 Please refer to the

  21   above instructions for Errata Sheet distribution

  22   information.

  23

  24

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   1   ATTACH TO DEPOSITION OF: DR. JONATHAN D. HIBBARD

   2   CASE:    Pinkette Clothing, Inc. Vs. Cosmetic Warriors

   3   Limited

   4   DATE TAKEN:      10/21/2016

   5                              ERRATA SHEET

   6   Please refer to Page 117 for Errata Sheet

   7   instructions and distribution instructions.

   8   Page Line                       Correction/Reason

   9   ________________________________________________

  10   ________________________________________________

  11   ________________________________________________

  12   ________________________________________________

  13   ________________________________________________

  14   ________________________________________________

  15   _____________________________________________________

  16   ___________________________________________

  17   ________________________________________________

  18   I have read the foregoing transcript of my

  19   deposition, and except for any corrections or changes

  20   noted above, I hereby subscribe to the transcript as

  21   an accurate record of the statements made by me.

  22   Executed this_____day of______________, 2016.

  23                            ____________________________

  24                                 DR. JONATHAN D. HIBBARD

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